  Case 21-60280       Doc 25     Filed 07/23/21 Entered 07/23/21 15:43:17             Desc Main
                                   Document     Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 In re:                                            Case No. 21-60280

 CORRY DAVIS MARKETING, INC.                       Chapter 11

          Debtor.


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


          PLEASE TAKE NOTICE that the undersigned firm, PARKINS LEE & RUBIO LLP,

is appearing as counsel for Kapitus Servicing, Inc., Creditor in the above-captioned and numbered

case, and files this Notice of Appearance and Request for Notice, pursuant to 11 U.S.C. § 1109(b)

and Rules 2002 of the Federal Rules of Bankruptcy Procedure, and respectfully requests that all

notices given or required to be given in this case, and all papers served or required to be served in

this case, be provided to and served upon the undersigned attorney at the following address:


                                      Charles M. Rubio P.C.
                                  PARKINS LEE & RUBIO LLP
                                    50 Main Street, Suite 1000
                                     White Plains, NY 10606
                                  Email: crubio@parkinslee.com
                                      Phone: 212-763-3331

          PLEASE TAKE FURTHER NOTICE that, pursuant to 11 U.S.C. § 1109(b), this request

for service of notice includes notices and papers referred to in the Federal Rules of Bankruptcy

Procedure and additionally includes, without limitation, notice of any application, complaint,

demand, hearing, motion, pleading, request, disclosure statement or plan of reorganization in the

above-captioned bankruptcy case, whether transmitted or conveyed by mail, telecopier or

otherwise.
 Case 21-60280         Doc 25   Filed 07/23/21 Entered 07/23/21 15:43:17   Desc Main
                                  Document     Page 2 of 2



Dated: July 23, 2021                            Respectfully submitted,

                                                /s/ Charles M. Rubio
                                                PARKINS LEE & RUBIO LLP
                                                Charles M. Rubio P.C.
                                                TX Bar No. 24083768
                                                50 Main Street, Suite 1000
                                                White Plains, NY 10606
                                                Email: crubio@parkinslee.com
                                                Phone: 212-763-3331
